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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                Ft. Lauderdale Division

                                                          CASE NO.:

 NICOLE JOHNSON,

                             Plaintiff,

 v.

 INTEGON NATIONAL INSURANCE COMPANY,

                      Defendant.
 _______________________________________/

                                 PETITION FOR REMOVAL

        Defendant, Integon National Insurance Company (hereinafter, "Integon"), by and

 through its undersigned counsel, hereby petitions for the removal of the civil action bearing

 Case Number CACE-18-023822 on the docket of the Circuit Court of the Seventeenth

 Judicial Circuit, in and for Broward County, Florida, to the United States District Court for

 the Southern District of Florida - Fort Lauderdale Division. This Court has jurisdiction under

 28 U.S.C. §1332, diversity jurisdiction. The grounds for removal are as follows:

 I.     Procedural History

        Plaintiff, Nicole Johnson (hereinafter, “Johnson”), commenced the civil action on or

 about October 9, 2018, by filing a Complaint against Integon in the Circuit Court of the

 Seventeenth Judicial Circuit, in and for Broward County, Florida. The Summons and

 Complaint were served upon Integon on or about October 19, 2018. Plaintiff’s Complaint

 alleges one Count for breach of the lender-placed insurance policy issued by Integon to

 Plaintiff’s lender, Seterus, Inc. Integon timely filed a Motion to Dismiss the Complaint on

 November 8, 2018.
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        This is a civil action over which this Court has original diversity jurisdiction pursuant

 to 28 U.S.C. §1332(a)(1), and is subject to removal pursuant to 28 U.S.C. §1441(a) and

 (b). This civil action is between citizens of different states, and the matter in controversy

 exceeds the sum of $75,000, exclusive of interest, attorneys’ fees and costs.

 II.    The Case Satisfies the Requirements for Removal to Federal Court

        A.     Diversity

        This Court has jurisdiction over this civil action pursuant to 28 U.S.C.A. §1332.

 Specifically, Plaintiff and Defendant are of diverse citizenship. Plaintiff, Johnson, is a

 citizen of the State of Florida, and alleges that she owns the property located at 160 Penn

 Way, Ft. Lauderdale, FL 33312. Public records obtained from the website of the Broward

 County Property Appraiser indicate that Plaintiff owns the subject residence and claimed

 it as homestead for 2016, 2017, and 2018. See print-out from the website of the Broward

 County Property Appraiser's Office, which is attached hereto as Composite Exhibit “1.”

        Defendant, Integon, is a North Carolina Corporation with its principal address

 located in the State of North Carolina. See Print-out from the website of the Florida

 Department of State, Division of Corporations, which is attached hereto as Exhibit “2.”

        B.     Amount in Controversy

        Additionally, the amount in controversy in the instant litigation exceeds $75,000.

 Plaintiff’s Complaint claims that Plaintiff is entitled to recover damages, which Plaintiff

 alleges was caused by a covered peril. The Complaint does not allege a specific amount

 of damages. However, if a Plaintiff in a diversity action has not pled a specific amount of

 damages, a defendant can properly remove the matter to Federal Court if it can

 demonstrate, by a preponderance of the evidence, that the amount in controversy exceeds

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 the jurisdictional requirement. Williams v. Best Buy Co., Inc., 269 F.3d 1316, 1319 (11th

 Cir. 2001); Lowery v. Ala. Power Co., 483 F.3d 1184, 1208 (11th Cir. 2007), reh'g en banc

 denied, Nos. 06-16324, 06-16325, 2008 WL 41327 (11th Cir. Jan. 3, 2008), petition for

 cert. filed, 16 U.S.L.W. 3540 (U.S. Apr. 1, 2008) (No. 07-1246).

        In the instant case, Plaintiff is attempting to recover damages pursuant to a

 lender-placed policy of insurance issued by Integon (Policy Number 7006-0002) to the

 Named Insured, Seterus, Inc., with the Borrower listed as Nicole Johnson, with coverage

 limits of $198,000.00 and a policy period of July 19, 2017 to July 19, 2018. See Integon

 Policy Number 7006-0002 which is attached hereto as Exhibit “3.”

        Plaintiff’s Complaint alleges a breach of contract related to Claim Number

 L17048297. On October 9, 2017, Plaintiff reported wind damage to her home with a

 September 9, 2017 date of loss (Hurricane Irma). Integon acknowledged the claim and

 assigned Claim Number L17048297. In response to the claim, Integon retained Pacesetter

 Claims (“Pacesetter”) to investigate the loss. A field adjuster from Pacesetter inspected the

 residence. Thereafter, Integon issued a claim decision letter dated November 27, 2017,

 for Claim Number L17048297. A Copy of Integon' s letter dated is attached hereto as

 Exhibit “4.” The letter partially accepted coverage for the claim and advised a portion of the

 loss was not covered under the policy, as it was unrelated to the wind claim. Id. Payment

 was made in the amount of $19,834.18 before depreciation and application of the

 deductible.

        Thereafter, Plaintiff’s representative notified Integon, by email dated March 28,

 2018, that Plaintiff was requesting a supplemental payment and provided its own estimate

 of damages prepared by People’s Insurance Claims Center, Inc. (“People’s), totaling

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 $110,959.84. A copy of the email is attached hereto as Exhibit “5”. The estimate is

 attached hereto as Exhibit “6.”

          By agreement, People’s completed a re-inspection of the residence. Thereafter,

 Integon issued a claims decision letter dated May 18, 2018 for Claim Number L17048297,

 including the agreement to issue a supplemental payment of $4,726.33 based upon the

 revised damage amount of $24,769.84 . See Integon’s letter dated May 18, 2018, which

 is attached hereto as Exhibit “7.”

          Plaintiff continues to dispute the value of the loss. In her Complaint, Plaintiff alleges

 that Defendant “continues to refuse to pay the full amount of [the] covered losses despite

 Plaintiff’s demand for full payment.” See Complaint ¶18. The amount in dispute is the

 People’s Estimate less sums paid on the claim ($110,959.84 less $24,769.84 for payments

 made - before deductibles and depreciation). Based on the above, Plaintiff seeks damages

 in the amount of $86,190.00.1

          Accordingly, the damages claimed by Plaintiff, ( $86,190.00) exceed the sum of

 $75,000.00, exclusive of interest and costs. Therefore, jurisdiction is proper.

 III.     Removal is timely

          This Petition for Removal is filed within thirty (30) days from the date on which

 Defendant, Integon, was served, i.e., October 19, 2018. Accordingly, this Petition is timely

 under 28 U.S.C. §1446(b)(1).

 IV.      All required documents from the Circuit Court Action are attached


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   Nothing in this pleading or in the referral to these estim ated costs should be considered an adm ission of
 liability by Integon nor should it have any bearing on the defenses or rights available to Integon in this litigation.
 Rather, this inform ation is being subm itted solely with regard to the issues of the am ount in controversy as
 it relates to Federal Jurisdiction.

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        Pursuant to 28 U.S.C. §1446(a) copies of all process, pleadings, and orders served

 between Plaintiff and Defendant are included, together with this Petition for Removal,

 which are attached hereto as Composite Exhibit “8".

 V.     Proper Notice of this Petition for Removal has been provided to all Parties

        and the Court

        Concurrent with the filing of this Petition for Removal, notice is being given to all

 parties, and a copy of this Petition for Removal is being filed with the Clerk of Court for the

 Seventeenth Judicial Circuit Court in and for Broward County, Florida.

        WHEREFORE, Defendant, Integon Insurance Company, gives notice that the

 proceeding bearing Case Number CACE-18-023822 on the docket of the Circuit Court of

 the Seventeenth Judicial Circuit in and for Broward County, Florida, entitled Nicole

 Johnson v. Integon National Insurance Company, is removed therefrom to the docket of

 this Court for trial and determination as provided by law. Defendant, Integon National

 Insurance Company, prays that this Honorable Court enters such orders and issues such

 processes as may be proper to bring before it a copy of all related records and proceedings

 in the State Court and thereupon proceed with this civil action as if it had originally

 commenced in this Court.




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                             CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the foregoing has been

 furnished via CM/ECF to: Moshe Rubinstein, Esq., Moshe Rubinstein Law Firm, P.A., 6100

 Hollywood Boulevard, Hollywood, FL 33024 (Moshe@moshelaw.com), this 16th day of

 November, 2018.

                                        By:     /s/ Charles Andrew Tharp
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                                               Florida Bar No.: 0746134
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